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 6   Attorney for Defendant
     Tracy Painter
 7
                                    UNITED STATES DISTRICT COURT
 8
                       IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
     United States of America,                  ) Case No.: Cr.S-10-223-JAM
10                                              )
                       Plaintiff,               ) STIPULATION FOR SETTING DATE
11                                              ) FOR SENTENCING AND ORDER
            vs.                                 )
12                                              ) Date: August 19, 2014
     Tracy Painter,                             ) Time: 9:30 a.m.
13                                              ) Judge: Hon. John A. Mendez
                       Defendant                )
14                                              )
                                                )
15                                              )
                                                )
16                                      PROCEDURAL HISTORY
17          On December 11, 2012, Tracy Painter pled guilty to Count 1 of the Indictment,
18   Conspiracy to Commit Mail Fraud and Make False Statements in Mortgage Applications. For a
19   variety of strategic and procedural reasons, the prosecution requested to continue sentencing
20   until other co-defendant’s cases were resolved.
21          Sentencing was set for August 20, 2013. However, since then, the case has been re-set a
22   number of times for hearings on setting a date for sentencing. On the last Court appearance,
23   May 20, 2014, the Court instructed probation to prepare an update to the pre-sentence report in
24   this matter, since the PSR was almost one year old. That update has not yet been received by
25   either counsel.


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 1          Both counsel for the government and for the defendant wish to review the updated PSR,
 2   file corrections if necessary, and then file sentencing memoranda.
 3          Therefore, we are requesting the Court continue the Sentencing Hearing to the date of
 4   October 28, 2014 at 9:30 a.m. and adopt the following disclosure schedule, to which all parties
 5   and agree:
 6          Judgment and Sentencing date:                                 10-28-14
 7          Motion for Correction of the Presentence Report shall
            be filed with the Court and served on the Probation
 8
            Officer and opposing counsel no later than:                   9-30-14
 9
            The Presentence Report shall be filed with the Court
10          and disclosed to counsel no later than:                       9-16-14

11
            Counsel's written objections to the Presentence Report
12          shall be delivered to the probation officer and opposing
            counsel no later than:                                        9-2-14
13
            The proposed updated Presentence Report shall be
14
            disclosed to counsel no later than:                           8-19-14
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17                                          STIPULATION
18          Plaintiff, United States, and Defendant, Tracy Painter, through their undersigned

19   counsel, hereby stipulate and agree that the Court may re-set the date for sentencing in the

20   above-mentioned case to October 28, 2014 at 9:30 a.m.

21   IT IS SO STIPULATED.

22
     DATED:         August 12, 2014                       BENJAMIN WAGNER
23                                                        United States Attorney
24                                                        /s/ Philip Ferrari, Esq. by
                                                          by Jan David Karowsky w/
25
                                                          Mr. Ferrari’s approval
                                                  by

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 1                                                            Philip Ferrari
                                                              Assistant U.S. Attorney
 2                                                            by Jan David Karowsky
 3

 4
     DATED:          August 12, 2014                          JAN DAVID KAROWSKY
                                                              Attorney at Law
 5                                                            A Professional Corporation

 6                                                            /s/ Jan David Karowsky, Esq.
                                                      by
 7                                                            JAN DAVID KAROWSKY
                                                              Attorney for Defendant
 8                                                            Tracy Painter
 9
                                                     ORDER
10
             Based on the stipulation of the parties and good cause appearing therefrom, the Court
11
     hereby finds that the failure to grant a continuance of the date now set for sentencing in this case
12
     would deny respective counsel for both parties reasonable time necessary for effective
13
     preparation, taking into account the exercise of due diligence. The Court specifically finds that
14
     the ends of justice served by the granting of such a continuance outweigh the interests of the
15
     public and the defendant in sentencing on the date now set.
16
             Based on these findings and pursuant to the stipulation of the parties, the Court hereby
17
     adopts the stipulation of the parties in its entirety as its order.
18
     IT IS SO ORDERED.
19

20
     Dated: 8/11/2014
21                                                    /s/ John A. Mendez_______________
                                                      JOHN A MENDEZ, Judge
22                                                    United States District Court

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